             Case 8:19-bk-00262-MGW             Doc 8     Filed 04/04/19      Page 1 of 59



                            UNITED STATES BANKRUPTCY COURT
                                 Middle DISTRICT OF Florida
                                      Tampa DIVISION

 IN RE:                                                                CASE NO.: 8:19-bk-00262-MGW
                                                                                         CHAPTER 7
 Elisabeth H Arguelles,
 aka Elisabeth Tran
         Debtor.
 _________________________________/

                      MOTION FOR RELIEF FROM AUTOMATIC STAY

                                    NOTICE OF OPPORTUNITY TO
                                 OBJECT AND REQUEST FOR HEARING

             Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
             paper without further notice or hearing unless a party in interest files a response
             within twenty one (21) days from the date set forth on the attached proof of service,
             plus an additional three days for service if any party was served by U.S. Mail.

             If you object to the relief requested in this paper, you must file a response with the
             Clerk of the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida
             Avenue, Suite 555, Tampa, Florida 33602 and serve a copy on the movant’s attorney,
             Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL, 6409
             Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate persons
             within the time allowed. If you file and serve a response within the time permitted, the
             Court will either schedule and notify you of a hearing, or consider the response and
             grant or deny the relief requested without a hearing.

             If you do not file a response within the time permitted, the Court will consider that
             you do not oppose the relief requested in the paper, will proceed to consider the paper
             without further notice or hearing, and may grant the relief requested.

       Secured Creditor, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR

RESIDENTIAL ASSET SECURITIES CORPORATION, HOME EQUITY MORTGAGE

ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2005-KS11, by and through

the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a

modification of the automatic stay provisions for cause, and, in support thereof, states the

following:


                                                                                         8:19-bk-00262-MGW
                                                                                                   19-277522
                                                                                                        MFR
                                                                                                     Page # 1
       Case 8:19-bk-00262-MGW            Doc 8     Filed 04/04/19      Page 2 of 59



1. Debtor(s), Elisabeth H Arguelles, aka Elisabeth Tran filed a voluntary petition pursuant to

   Chapter 7 of the United States Bankruptcy Code on January 11, 2019.

2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. On October 7, 2005, Debtor(s) and party of interest Peter Arguelles executed and

   delivered a Promissory Note (“Note”) and a Mortgage (“Mortgage”) securing payment of

   the Note in the amount of $352,000.00 to Homecomings Financial Network INC. The

   Mortgage was recorded on October 10, 2005 on Instrument Number 2005227739 and

   re-recorded on July 20, 2006 on Instrument Number 2006131594 of the Public Records of

   Sarasota County, Florida. The loan was transferred to Secured Creditor. True and

   accurate copies of documents establishing a perfected security interest and ability to

   enforce the terms of the Note are attached hereto as Composite Exhibit “A.” The

   documents include copies of the Note with any required indorsements, Recorded

   Mortgage, Assignment(s) of Mortgage, and any other applicable documentation

   supporting the right to seek a lift of the automatic stay and foreclose, if necessary.

5. The terms of the aforementioned Note and Mortgage have been in default, and remain in

   default, since June 1, 2017.



                                                                                  8:19-bk-00262-MGW
                                                                                            19-277522
                                                                                                 MFR
                                                                                              Page # 2
       Case 8:19-bk-00262-MGW             Doc 8   Filed 04/04/19     Page 3 of 59



6. The appraised value of the property is $312,834.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

7. Based upon the Debtor(s)’ schedules, the property is claimed as exempt. The Trustee has

   entered a Report of No Distribution.

8. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

9. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

11. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the



                                                                                 8:19-bk-00262-MGW
                                                                                           19-277522
                                                                                                MFR
                                                                                             Page # 3
           Case 8:19-bk-00262-MGW           Doc 8     Filed 04/04/19      Page 4 of 59



       14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

   12. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   13. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com




                                                                                   8:19-bk-00262-MGW
                                                                                             19-277522
                                                                                                  MFR
                                                                                               Page # 4
           Case 8:19-bk-00262-MGW         Doc 8    Filed 04/04/19   Page 5 of 59



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 4, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Elisabeth H Arguelles
aka Elisabeth Tran
859 Patterson Drive
Sarasota, FL 34234

Christopher F Ikerd
Law Offices of Christopher F Ikerd, Esq
3000 Gulf to Bay Boulevard, Suite 211
Clearwater, FL 33759

Nicole M Cameron
Nicole M. Cameron, P.A.
235 Apollo Beach Boulevard, #231
Apollo Beach, FL 33572

U.S. Trustee
United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




                                                                              8:19-bk-00262-MGW
                                                                                        19-277522
                                                                                             MFR
                                                                                          Page # 5
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 6 of 59




        COMPOSITE EXHIBIT “A”
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 7 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 8 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 9 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 10 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 11 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 12 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 13 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 14 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 15 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 16 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 17 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 18 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 19 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 20 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 21 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 22 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 23 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 24 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 25 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 26 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 27 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 28 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 29 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 30 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 31 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 32 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 33 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 34 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 35 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 36 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 37 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 38 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 39 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 40 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 41 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 42 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 43 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 44 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 45 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 46 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 47 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 48 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 49 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 50 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 51 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 52 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 53 of 59
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 54 of 59




                  EXHIBIT “B”
01012345                                 67789
1198Doc
                         Case 8:19-bk-00262-MGW           1888Filed
                                                                      79604/04/19
                                                                              18179123Page
                                                                                                34333355
                                                                                                        of 59




       "#$%&'()*&'+,,-.,,,,/

         01&23*4                                                              L)&$K)4 40F03;XG7
         56789::9;9:=;5>9?@                                                    MJ&*#*)N*4 Y7Z;97
         A5B5??96;CDE6F;565;C?5FG:FH02H0                                      IJO$*P*2*&4 3H5[>5\@5]9D
         I*J2K$$224                                                         Q24 3433;^_GE76
         A5B5??96;CDE6;565;C?5FG:FH02H0                                             I)J2 CB9D
                                                                              I#RS1R"T4 42H;4[9
                                                                                    U&2J24 42443335332
                                                                                    V&*&T4 6;GH69;=E9D?=5:F;=D7:9G5`=:\
                                                                          S)NL*P*&TQ&*24 4
                                                                         )#NW2#**&4 :C?;H32aH3H>5\@5]9D
  bJ*N$*&T2
      I*J2c#N*#d)$$22'OJ*N$*&T$)*N2          bN$Te b$2 b)32 f)N'b)32 g)bJ*N h''gbJ*N            i22K) L*P*&TK) I*2
      A5B5??96;CDE6;565;C?5FG:FH02H0                 4    H     H       3       454        45A3                HF[43      4F54[      4
  hj)k)J2
        N*&e         bJ*N$*&TlJ(O                           W2#**&                       Q&*2          Q&*S           g)
           4                 4                             ;^9^9m                      5[0              ;G             45[0
           2                 4                               Y87E76                      HA0              ;G             45A[
           H                 4                                   7no                            H              ;G             45A[
           0                 4                               7_E76                       2A              ;G             454
                            4                           B7^7Bp9                   0              ;G             45[0
                            4                                ;^_B                        H42              ;G             45[0
  q)NJ2
     g)          L)&$          bJ*N$*&T          hj)k)J       tJ2         K2222$      hj(*&2       S)j)ON          U)
       234A      r4A3FH33        r4HF33            r4AF33        rHHF33       rH42FAH0        r3F333        r22FAH0       r22F
       234[      r4[3F[33        r44FA33            r4AF533        rH3F033       rH3F033        r3F333        r2F033          r3
       234      r4[F333        r44HFA33            r4AF433        rH3F533       rH3F533        r3F333        r2F533          r3
       234      r42AF533        r435F[33            r45F[33        r2AFH33       r2AFH33          r3           r2AFH33          r3
       2340      r44AF33        r44HF033            r45F033        r24FH33       r23FA33          r3           r23FA33        r33
       234H      r44AF33         r5HF533            r4F33        r22AF333       r22AF333          r3           r22AF333          r3
       2342      r422F233         r[0F033            r4F533        r242F33       r242F33          r3           r242F33          r3
       2344      r422F233         rF33            r4F233        r230F333       r230F333          r3           r230F333          r3
       2343      r42HF[33         rA4FH33            r4FA33        r223FA33       r223FA33          r3           r223FA33          r3
       2335      r4AHF333        r43HF433            r40F33        rH33F[33       rH33F[33        r3F333        r23F[33          r3
  UJ&hj(*&2
        i)&g)                  q)NJ
            234                      r2F33333
            234                      r2F33333
  I)N2sS)&2'2
67789
119818879618179123343333                                                                                412
01012345                                  67789
1198Doc
                          Case 8:19-bk-00262-MGW           1888Filed
                                                                       79604/04/19
                                                                               18179123Page
                                                                                                 34333356
                                                                                                         of 59

    !#$!        %!&'(!()'*(!$*'           +$,-!$.,-/!     0,1**&$*')'(!            2$'34!11!      +$,-!$56!
      51471233              80039333                      23322::7;              34               <=>?@A9BCA=<DEFC@A            GH
     4212312333              82709333                      233342204              34                C@IH@A<EII@J>D9              GH
       14145;:                 83                          4514;;;              44                                             IJ
  K'&*$!(L*/1!K&&',$
   D6M9977MNOPM79Q7698
  R'6!$5!&'(*'-$*'1$,6($!('ST3U3VWXY
   Z[\]  Z_``ab`cdefg
      }+%~R!1
                      hgij`klada4}K
                   }1''(5
                                 mnogjgp`hg}1q''('!
                                               `rchns`
                                                     
                                                       kdjctd)'--,*
                                                              chgp`u$5vwxwyzx{|!}1''(1!$*'$                         )}K
          3474             ED            =I                J@                   4243                 44                   ED
   =QP8879M<CJBCJ9P976877MQ76OPMNQ78M7976M76Q
   MQ7MMQMQ799P998Q7769887950450042:
   NMP97M9NMN76Q89504;4333

                                               <MNEPBPM776FMJPM7O7
                                       EP99MPN7=MQ7M99@8M7E887PM79H9
                          <97BPM7F87J889F6504;4;233504;4;232334J9>M9<979>97027:




67789
119818879618179123343333                                                                               212
Case 8:19-bk-00262-MGW   Doc 8   Filed 04/04/19   Page 57 of 59




                  EXHIBIT “C”
          Case 8:19-bk-00262-MGW           Doc 8    Filed 04/04/19     Page 58 of 59




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  Tampa DIVISION
                                www.flmb.uscourts.gov

 IN RE:                                                       CASE NO.: 8:19-bk-00262-MGW
                                                                                CHAPTER 7
 Elisabeth H Arguelles,
 aka Elisabeth Tran
        Debtor.
 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on U.S. BANK NATIONAL
ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL ASSET SECURITIES CORPORATION,
HOME EQUITY MORTGAGE ASSET-BACKED PASS-THROUGH CERTIFICATES,
SERIES 2005-KS11’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ##). No
appropriate response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s

                                                1
          Case 8:19-bk-00262-MGW            Doc 8    Filed 04/04/19     Page 59 of 59



       interest in the following property located at 859 Patterson Drive, Sarasota, FL 34234 in
       Sarasota County, Florida.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement, loan
       modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $350.00; and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                               ###
Attorney, Christopher P. Salamone, Esquire, is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.




                                                2
